          Case 1:19-cv-03789-BCM Document 35 Filed 10/15/20 Page 1 of 1




                Abdul Hassan Law Group, PLLC
                          215-28 Hillside Avenue                                                      10/15/20
                      Queens Village, New York, 11427
                                   ~~~~~
Abdul K. Hassan, Esq.                                                         Tel: 718-740-1000
Email: abdul@abdulhassan.com                                                 Fax: 718-740-2000
Employment and Labor Lawyer                                          Web: www.abdulhassan.com

                                        October 12, 2020
                                     Application GRANTED. The parties shall file their motions for settlement
Via ECF                              approval in both actions no later than October 27, 2020. SO ORDERED.

Hon. Barbara C. Moses, USMJ         _______________
United States District Court, SDNY Barbara Moses, U.S.M.J.
40 Foley Square                     October 15, 2020
New York, NY 10007
                       Re: Martin v. NYC Crane Hoist & Rigging, LLC
                           Case No. 19-CV-03789 (BCM)

                       Re: Harding et al v. NYC Crane Hoist & Rigging, LLC et al
                           Case No. 19-CV-11948 (BCM)
                           Motion for Extension of Time

Dear Magistrate-Judge Moses:

         My firm represents Plaintiff in the above-referenced action, and I respectfully write to
request a two-week extension of the October 12, 2020 deadline in this case and the October 13,
2020 deadline in the related case (19-CV-11948-BCM Harding et al v. NYC Crane Hoist &
Rigging, LLC et al ), for Plaintiffs to file their motions for settlement approval. This request is
being made because some additional time is needed for additional consultations with the family,
etc. as to Plaintiff Martin after he recently died so that we can complete the settlement and the
case. One prior request for an extension of this deadline was made and granted.

       We thank the Court in advance for its time and consideration.

Respectfully submitted,

Abdul Hassan Law Group, PLLC

_/s/ Abdul Hassan____________
By: Abdul K. Hassan, Esq. (AH6510) - Counsel for Plaintiff

cc:    Defense Counsel via ECF
